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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS
   BAKER,
                                       Plaintiffs,           Civil Action No. 3:17-cv-00072-NKM
                             v.

   JASON KESSLER, et al.,
                                       Defendants.



                                  PLAINTIFFS’ TRIAL EXHIBIT LIST

          In accordance with the Court’s July 15, 2021, Scheduling Order (Dkt. No. 991) and

   pursuant to Fed. R. Civ. P. Rule 26(a)(3)(A), Plaintiffs hereby submit their trial exhibit list, which

   is attached hereto as Exhibit A, using Designation PX 1-3328. Plaintiffs reserve the right to amend

   this list up to and through trial by, among other things, adding or removing exhibits and revising

   descriptions and Bates numbers. Plaintiffs further reserve the right to use any exhibits listed on

   any of Defendants’ exhibit lists.

          Plaintiffs note that some exhibits on the list were produced by Defendants without Bates

   numbers, and therefore are identified only by their description.

          To the extent that an exhibit contains audio or video, Plaintiffs will only use admissible

   portions of the exhibit. The inclusion on this list of an exhibit that contains audio or video does

   not necessarily indicate that Plaintiffs contend or agree the entire audio or video is admissible.
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     Dated: September 14, 2021                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

                  I hereby certify that on September 14, 2021, I filed the foregoing with the Clerk
   of Court through the CM/ECF system, which will send a notice of electronic filing to:


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           I hereby certify that on September 14, 2021, I also served the following non-ECF
   participants via mail or electronic mail:

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    Dated: September 14, 2021



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